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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


AMCO INSURANCE COMPANY,                   :    CIVIL ACTION NO. 1:15-CV-53
            Plaintiff                     :
                                          :    (Chief Judge Conner)
             v.                           :
                                          :
BRIAN YOHE AND JILL YOHE,                 :
             Defendants                   :

                                       ORDER


      AND NOW, this 18th day of July, 2016, it having been reported to the Court

that the above action has been settled, IT IS HEREBY ORDERED that this action

is dismissed without costs and without prejudice, upon good cause shown within

sixty (60) days, to reinstate the action if the settlement is not consummated.



                                        /S/ CHRISTOPHER C. CONNER
                                        Christopher C. Conner, Chief Judge
                                        United States District Court
                                        Middle District of Pennsylvania
